Case 1:03-md-01570-GBD-SN Document 2019

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001 03 MDL 1570 (GBD)
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This document relates to:
03 CV 9849 (GBD)
03 CV 6978 (GBD)
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Defendant Samir Salah’s motion’ to vacate the default judgments entered against him in

Burnett v. Al Baraka Inv. & Dev. Corp., 03 CV 9849 (GBD) and in Federal Ins. Co. V. Al

Qaida, 03 CV 6978 (GBD), is granted.

Dated: New York, New York
July 30, 2007

SO ORDERED:

Gpacty GB. Dinw&

GORGE B. DANIELS
United States District Judge

1 The motion is reflected on the docket sheet as document 1945.
